                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                   AT GREENEVILLE



  UNITED STATES OF AMERICA                            )
                                                      )
                                                      )
  v.                                                  )       No. 2:17-CR-12
                                                      )
                                                      )
  MICHAEL J.W. POTTER                                 )


                                              ORDER

        This criminal matter is before the Court to consider the Report and Recommendation of

  the United States Magistrate Judge dated November 14, 2017.                  In that Report and

  Recommendation, [Doc. 464], the Magistrate Judge recommends that the defendant’s motion to

  suppress statements, [Doc. 405], be denied.       The defendant filed an objection to this

  recommendation, [Doc. 527].

        After careful de novo consideration of the record as a whole, and after careful consideration

  of the Report and Recommendation of the United States Magistrate Judge, and for the reasons set

  out in that Report and Recommendation which are incorporated by reference herein, it is hereby

  ORDERED that this Report and Recommendation, [Doc. 464], is ADOPTED and APPROVED,

  and that the defendant’s motion to suppress, [Doc. 405], is DENIED.

        ENTER:


                                                                   s/J. RONNIE GREER
                                                              UNITED STATES DISTRICT JUDGE




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